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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

HARRISON NGUYEN,                                 §
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §        CIVIL ACTION NO. 4:16-cv-317
                                                 §
ALLSTATE TEXAS LLOYD'S,                          §
                                                 §
        Defendant.                               §

               AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

TO THE HONORABLE COURT:

        Plaintiff Harrison Nguyen and Defendant Allstate Texas Lloyd’s hereby dismiss all claims

with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). The parties intend for

this Agreed Dismissal to constitute a final disposition of their claims in accordance with their

settlement agreement.

                                              Respectfully submitted:

                                              THE POTTS LAW FIRM, LLP

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                                              THOMPSON, COE, COUSINS & IRONS,
                                              L.L.P.


                                               /s/ Eric K. Bowers          ________________
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served in
compliance with the Federal Rules of Civil Procedure on all counsel of record via electronic
filing on the 2nd day of September, 2016.


                                              /s/Matthew J. Worrall (w/permission)
                                              Matthew J. Worrall




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